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February 14, 2020
VIA ECF

Hon. Esther Salas

United States District Court

Martin Luther King Building & U.S. Courthouse
Courtroom MLK 5A

50 Walnut Street, Room 4015

Newark, NJ 07101

Re: Sanchez v. Decker, 2:20-cv-01414 (ES)
Dear Judge Salas:

The undersigned represent the petitioner, Mr. Felix Sanchez, in his petition for a writ of
habeas corpus. We have consulted with Respondents’ counsel regarding a briefing schedule in
this matter. Both parties have agreed to a briefing schedule providing Respondents with 21 days

to file their response, and Petitioner with 7 days to file his reply.

We respectfully request that the Court order the proposed briefing schedule.

 

Respectfully submitted,

/s! Gregory Copeland /s/ Nabilah Siddiquee*
Gregory Copeland, Esq. Nabilah Siddiquee, Esq.
Sarah Gillman, Esq. Brittany Castle, Esq.

RAPID DEFENSE NETWORK Immigrant Defense Project
11 Broadway, Suite 615 40 West 39" Street, 5" Floor
New York, NY 10004 New York. NY 10018

(212) 853-0910 (646) 760-0591
gregory(@defensenetwork.org nabilah/@immdefense.org
saralia@defensenetwork.org brittany @immdefense.org

*Pro Hac Vice motion pending

cc: Counsel for Respondents via ECF

 
